                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


JERPAUL D. SPENCER,

                    Plaintiff,

             v.                                               Case No. 16-C-0662

EDWARD A. FLYNN, MICHAEL VAGNINI,
JACOB KNIGHT, JEFFREY KLINE,
PAUL MARTINEZ, GREGORY KUSPA,
JESSE BUSSHARDT, MICHAEL VALUCH, and
KEITH GARLAND

                    Defendants.


                                 SCHEDULING ORDER

      To expedite a resolution of this case, the court sets forth the following scheduling

order. Therefore,

      IT IS ORDERED that:

1.    Discovery. All requests for discovery shall be served by a date sufficiently early so
      that all discovery is completed no later than Wednesday, February 1, 2017.

      The parties are advised that, pursuant to Rule 30(a) of the Federal Rules of Civil
      Procedure, defendants may depose plaintiff and any other witness confined in a
      prison upon condition that, at least fourteen days before such a deposition,
      defendants serve all parties with the notice required by the rule.

2.    Dispositive Motions. Motions to dismiss (Rule 12 of the Federal Rules of Civil
      Procedure and Civil Local Rule 7) and motions for summary judgment (Rule 56 of
      the Federal Rules of Civil Procedure and Civil Local Rule 56), together with
      supporting materials, may be filed no later than Wednesday, March 1, 2017.
      Copies of Rule 12, Rule 56, and Civil Local Rules 7 and 56 (E.D. Wis.) are included
      with this order.

      A party opposing a motion for summary judgment must file a response “within 30
      days of service of the motion.” Civil Local Rule 56(b)(2) (E.D. Wis.). Civil Local
      Rule 56(b)(2) sets forth the documents and information that must be included in a
      response to a motion for summary judgment. Defendants must provide a full copy




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     of Civil Local Rule 56(b) to a pro se plaintiff with any motion for summary judgment
     they file.

     If a party files a motion for summary judgment, Rule 56 requires a district court to
     grant summary judgment “if the movant shows that there is no genuine dispute as
     to any material fact and the movant is entitled to judgment as a matter of law.” Fed.
     R. Civ. P. 56(a).

3.   Compliance with Court Rules and Orders. Failure to make a timely submission or
     otherwise comply with the court’s orders may result in the dismissal of this action
     for failure to prosecute.

4.   Service. Plaintiffs who are inmates at Dodge Correctional Institution, Green Bay
     Correctional Institution, Waupun Correctional Institution, and Wisconsin Secure
     Program Facility must submit all correspondence and case filings to institution staff,
     who will scan and e-mail documents to the court pursuant to the Prisoner E-Filing
     Program. No copies are required to be mailed to either the court or the
     defendant(s). All defendant(s) will be served electronically through the court's
     electronic case filing system.

     Plaintiffs who are inmates at all other prison facilities must submit the original
     document for each filing to the court to the following address: Clerk of Court, United
     States District Court for the Eastern District of Wisconsin, 517 E. Wisconsin Ave. -
     Rm. 362, Milwaukee, WI 53202. As each filing will be electronically scanned and
     entered on the docket upon receipt by the clerk, the plaintiff need not mail copies
     to the defendant(s). All defendant(s) will be served electronically through the court's
     electronic case filing system.

     Dated at Milwaukee, Wisconsin, this 26th day of October, 2016.

                                                       BY THE COURT

                                                       /s/ C.N. Clevert, Jr.
                                                       C.N. CLEVERT, JR.
                                                       U.S. District Judge




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Federal Rule of Civil Procedure 12. Defenses and Objections: When and How Presented; M otion for Judgment
on the Pleadings; Consolidating M otions; W aiting Defenses; Pretrial Hearing

(a) Time to Serve a Responsive Pleading.

(1) In General. Unless another time is specified by this rule or a federal statute, the time for serving a responsive
pleading is as follows:

(A) A defendant must serve an answer:

(i) within 21 days after being served with the summons and complaint; or

(ii) if it has timely waived service under Rule 4(d), within 60 days after the request for a waiver was sent, or within 90
days after it was sent to the defendant outside any judicial district of the United States.

(B) A party must serve an answer to a counterclaim or crossclaim within 21 days after being served with the pleading
that states the counterclaim or crossclaim.

(C) A party must serve a reply to an answer within 21 days after being served with an order to reply, unless the order
specifies a different time.

(2) United States and Its Agencies, Officers, or Em ployees Sued in an Official Capacity. The United States, a United
States agency, or a United States officer or employee sued only in an official capacity must serve an answer to a
complaint, counterclaim, or crossclaim within 60 days after service on the United States attorney.

(3) United States Officers or Employees Sued in an Individual Capacity. A United States officer or employee sued in
an individual capacity for an act or omission occurring in connection with duties performed on the United States' behalf
must serve an answer to a complaint, counterclaim, or crossclaim within 60 days after service on the officer or employee
or service on the United States attorney, whichever is later.

(4) Effect of a Motion. Unless the court sets a different time, serving a motion under this rule alters these periods as
follows:

(A) if the court denies the motion or postpones its disposition until trial, the responsive pleading must be served within
14 days after notice of the court's action; or

(B) if the court grants a motion for a more definite statement, the responsive pleading must be served within 14 days after
the more definite statement is served.

(b) How to Present Defenses. Every defense to a claim for relief in any pleading must be asserted in the responsive
pleading if one is required. But a party may assert the following defenses by motion:

(1) lack of subject-matter jurisdiction;

(2) lack of personal jurisdiction;

(3) improper venue;

(4) insufficient process;

(5) insufficient service of process;




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(6) failure to state a claim upon which relief can be granted; and

(7) failure to join a party under Rule 19.

A motion asserting any of these defenses must be made before pleading if a responsive pleading is allowed. If a pleading
sets out a claim for relief that does not require a responsive pleading, an opposing party may assert at trial any defense
to that claim. No defense or objection is waived by joining it with one or more other defenses or objections in a
responsive pleading or in a motion.

(c) M otion for Judgment on the Pleadings. After the pleadings are closed--but early enough not to delay trial--a party
may move for judgment on the pleadings.

(d) Result of Presenting M atters Outside the Pleadings. If, on a motion under Rule 12(b)(6) or 12(c), matters outside
the pleadings are presented to and not excluded by the court, the motion must be treated as one for summary judgment
under Rule 56. All parties must be given a reasonable opportunity to present all the material that is pertinent to the
motion.

(e) M otion for a M ore Definite Statement. A party may move for a more definite statement of a pleading to which a
responsive pleading is allowed but which is so vague or ambiguous that the party cannot reasonably prepare a response.
The motion must be made before filing a responsive pleading and must point out the defects complained of and the
details desired. If the court orders a more definite statement and the order is not obeyed within 14 days after notice of
the order or within the time the court sets, the court may strike the pleading or issue any other appropriate order.

(f) M otion to Strike. The court may strike from a pleading an insufficient defense or any redundant, immaterial,
impertinent, or scandalous matter. The court may act:

(1) on its own; or

(2) on motion made by a party either before responding to the pleading or, if a response is not allowed, within 21 days
after being served with the pleading.

(g) Joining M otions.

(1) Right to Join. A motion under this rule may be joined with any other motion allowed by this rule.

(2) Lim itation on Further Motions. Except as provided in Rule 12(h)(2) or (3), a party that makes a motion under this
rule must not make another motion under this rule raising a defense or objection that was available to the party but
omitted from its earlier motion.

(h) W aiving and Preserving Certain Defenses.

(1) When Som e Are Waived. A party waives any defense listed in Rule 12(b)(2)-(5) by:

(A) omitting it from a motion in the circumstances described in Rule 12(g)(2); or

(B) failing to either:

(i) make it by motion under this rule; or

(ii) include it in a responsive pleading or in an amendment allowed by Rule 15(a)(1) as a matter of course.




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(2) When to Raise Others. Failure to state a claim upon which relief can be granted, to join a person required by Rule
19(b), or to state a legal defense to a claim may be raised:

(A) in any pleading allowed or ordered under Rule 7(a);

(B) by a motion under Rule 12(c); or

(C) at trial.

(3) Lack of Subject-Matter Jurisdiction. If the court determines at any time that it lacks subject-matter jurisdiction, the
court must dismiss the action.

(i) Hearing Before Trial. If a party so moves, any defense listed in Rule 12(b)(1)-(7)--whether made in a pleading or
by motion--and a motion under Rule 12(c) must be heard and decided before trial unless the court orders a deferral until
trial.

CREDIT(S)

(Amended December 27, 1946, effective March 19, 1948; January 21, 1963, effective July 1, 1963; February 28, 1966,
effective July 1, 1966; March 2, 1987, effective August 1, 1987; April 22, 1993, effective December 1, 1993; April 17,
2000, effective December 1, 2000; April 30, 2007, effective December 1, 2007; March 26, 2009, effective December
1, 2009.)




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Federal Rule of Civil Procedure 56. Summary Judgment

(a) M otion for Summary Judgment or Partial Summary Judgment. A party may move for summary judgment,
identifying each claim or defense--or the part of each claim or defense--on which summary judgment is sought. The court
shall grant summary judgment if the movant shows that there is no genuine dispute as to any material fact and the movant
is entitled to judgment as a matter of law. The court should state on the record the reasons for granting or denying the
motion.

(b) Time to File a M otion. Unless a different time is set by local rule or the court orders otherwise, a party may file a
motion for summary judgment at any time until 30 days after the close of all discovery.

(c) Procedures.

         (1) Supporting Factual Positions. A party asserting that a fact cannot be or is genuinely disputed must
         support the assertion by:

                  (A) citing to particular parts of materials in the record, including depositions,
                  documents, electronically stored information, affidavits or declarations, stipulations
                  (including those made for purposes of the motion only), admissions, interrogatory
                  answers, or other materials; or

                  (B) showing that the materials cited do not establish the absence or presence of a
                  genuine dispute, or that an adverse party cannot produce admissible evidence to
                  support the fact.

         (2) Objection That a Fact Is Not Supported by Admissible Evidence. A party may object that the
         material cited to support or dispute a fact cannot be presented in a form that would be admissible in
         evidence.

         (3) Materials Not Cited. The court need consider only the cited materials, but it may consider other
         materials in the record.

         (4) Affidavits or Declarations. An affidavit or declaration used to support or oppose a motion must
         be made on personal knowledge, set out facts that would be admissible in evidence, and show that the
         affiant or declarant is competent to testify on the matters stated.

(d) W hen Facts Are Unavailable to the Nonmovant. If a nonmovant shows by affidavit or declaration that, for
specified reasons, it cannot present facts essential to justify its opposition, the court may:

         (1) defer considering the motion or deny it;

         (2) allow time to obtain affidavits or declarations or to take discovery; or

         (3) issue any other appropriate order.

(e) Failing to Properly Support or Address a Fact. If a party fails to properly support an assertion of fact or fails to
properly address another party's assertion of fact as required by Rule 56(c), the court may:

         (1) give an opportunity to properly support or address the fact;

         (2) consider the fact undisputed for purposes of the motion;



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         (3) grant summary judgment if the motion and supporting materials--including the facts considered
         undisputed--show that the movant is entitled to it; or

         (4) issue any other appropriate order.

(f) Judgment Independent of the M otion. After giving notice and a reasonable time to respond, the court may:

         (1) grant summary judgment for a nonmovant;

         (2) grant the motion on grounds not raised by a party; or

         (3) consider summary judgment on its own after identifying for the parties material facts that may not
         be genuinely in dispute.

(g) Failing to Grant All the Requested Relief. If the court does not grant all the relief requested by the motion, it may
enter an order stating any material fact--including an item of damages or other relief--that is not genuinely in dispute and
treating the fact as established in the case.

(h) Affidavit or Declaration Submitted in Bad Faith. If satisfied that an affidavit or declaration under this rule is
submitted in bad faith or solely for delay, the court--after notice and a reasonable time to respond--may order the
submitting party to pay the other party the reasonable expenses, including attorney's fees, it incurred as a result. An
offending party or attorney may also be held in contempt or subjected to other appropriate sanctions.

CREDIT(S)

(Amended December 27, 1946, effective March 19, 1948; January 21, 1963, effective July 1, 1963; March 2, 1987,
effective August 1, 1987; April 30, 2007, effective December 1, 2007; March 26, 2009, effective December 1, 2009;
April 28, 2010, effective December 1, 2010.)




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Civil Local Rule 7. Form of M otions and Other Papers

(a) Form of M otion and M oving Party’s Supporting Papers. Every motion must state the statute or rule pursuant to
which it is made and, except for those brought under Civil L. R. 7(h) (Expedited Non-Dispositive Motion Practice), must
be accompanied by:

         (1) a supporting memorandum and, when necessary, affidavits, declarations, or other papers; or

         (2) a certificate stating that no memorandum or other supporting papers will be filed.

(b) Non-M oving Party’s Response. For all motions other than those for summary judgment or those brought under Civil
L. R. 7(h) (Expedited Non-Dispositive Motion Practice), any memorandum and other papers in opposition must be filed
within 21 days of service of the motion.

(c) Reply. For all motions other than those for summary judgment or those brought under Civil L. R. 7(h) (Expedited
Non-Dispositive Motion Practice), the moving party may serve a reply memorandum and other papers within 14 days
from service of the response memorandum.

(d) Sanction for Noncompliance. Failure to file either a supporting memorandum or other papers, or a certificate of
counsel stating that no memorandum or other supporting papers will be filed, is sufficient cause for the Court to deny
the motion. Failure to file a memorandum in opposition to a motion is sufficient cause for the Court to grant the motion.
The Court also may impose sanctions under General L. R. 83(f).

(e) Oral Argument. The Court will hear oral argument at its discretion.

(f) Length of M emoranda. Subject to the limitations of Civil L. R. 7(h) (Expedited Non-Dispositive Motion Practice)
and Civil L. R. 56 (Summary Judgment Motion Practice), the principal memorandum in support of, or in opposition to,
any motion must not exceed 30 pages and reply briefs must not exceed 15 pages (excluding any caption, cover page, table
of contents, table of authorities, and signature block). No memorandum exceeding the page limitations may be filed
unless the Court has previously granted leave to file an oversized memorandum.

(g) M odification of Provisions in Particular Cases. The Court may provide by order or other notice to the parties that
different or additional provisions regarding motion practice apply.

(h) Expedited Non-Dispositive M otion Practice.

         (1) Parties in civil actions may seek non-dispositive relief by expedited motion. The motion must be designated
         as a “Civil L. R. 7(h) Expedited Non-Dispositive M otion.” The Court may schedule the motion for hearing or
         may decide the motion without hearing. The Court may designate that the hearing be conducted by telephone
         conference call. The Court may order an expedited briefing schedule.

         (2) The motion must contain the material facts, argument, and, if necessary, counsel’s certification pursuant to
         Civil L. R. 37. The motion must not exceed 3 pages excluding any caption and signature block. The movant
         may not file a separate memorandum with the motion. The movant may file with the motion an affidavit or
         declaration for purposes of (1) attesting to facts pertinent to the motion and/or (2) authenticating documents
         relevant to the issue(s) raised in the motion. The movant’s affidavit or declaration may not exceed 2 pages. The
         respondent must file a memorandum in opposition to the motion within 7 days of service of the motion, unless
         otherwise ordered by the Court. The respondent’s memorandum must not exceed 3 pages. The respondent may
         file with its memorandum an affidavit or declaration for purposes of (1) attesting to facts pertinent to the
         respondent’s memorandum and/or (2) authenticating documents relevant to the issue(s) raised in the motion.
         The respondent’s affidavit or declaration may not exceed 2 pages. No reply brief is permitted absent leave of
         Court.


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         (3) The provisions of subsection (h) do not apply to 42 U.S.C. § 1983 actions brought by incarcerated persons
         proceeding pro se.

(i) Leave to file paper. Any paper, including any motion, memorandum, or brief, not authorized by the Federal Rules
of Civil Procedure, these Local Rules, or a Court order must be filed as an attachment to a motion requesting leave to
file it. If the Court grants the motion, the Clerk of Court must then file the paper.

(j) Citations.

         (1) W ith the exception of the prohibitions in Seventh Circuit Rule 32.1, this Court does not prohibit the citation
         of unreported or nonprecedential opinions, decisions, orders, judgments, or other written dispositions.

         (2) If a party cites an unreported opinion, decision, order, judgment or other written disposition, the party must
         file and serve a copy of that opinion, decision, order, judgment, or other written
         disposition.




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